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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-10-281
                                                 §
                                                 §
ROBERT VEAZIE                                    §
FELTON GREER`                                    §

                                          ORDER

       The government filed an unopposed motion for continuance, (Docket Entry No.30).

The defendants are unopposed to the motion. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The

docket control order is amended as follows:

       Motions are to be filed by:                   March 21, 2011
       Responses are to be filed by:                 April 4, 20111
       Pretrial conference is reset to:              April 11, 2011, at 8:45 a.m.
       Jury trial and selection are reset to:        April 18, 2011, at 9:00 a.m.


              SIGNED on August 24, 2010, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
